     Case 3:17-cv-00939-WHA Document 2281-2 Filed 11/27/17 Page 1 of 2




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                                UNITED STATES DISTRICT COURT
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                NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
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     WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA
11
                   Plaintiff,                      [PROPOSED] ORDER GRANTING
12                                                 PLAINTIFF WAYMO LLC’S
          vs.                                      ADMINISTRATIVE MOTION TO FILE
13                                                 UNDER SEAL WAYMO’S RESPONSE TO
   UBER TECHNOLOGIES, INC.;                        ORDER REGARDING LETTER FROM
14 OTTOMOTTO LLC; OTTO TRUCKING                    UNITED STATES ATTORNEY (DKT.
   LLC,                                            2261)
15
             Defendants.
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                                                                       CASE NO. 3:17-cv-00939-WHA
                                   [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 2281-2 Filed 11/27/17 Page 2 of 2




 1         Plaintiff Waymo LLC (“Waymo”) has filed an Administrative Motion to File Under Seal

 2 (“Waymo’s Administrative Motion”) certain information in its Response to Order Regarding
 3 Letter from United States Attorney (“Waymo’s Response”).
 4         Having considered Waymo’s Administrative Motion, and good cause to seal having been
 5 shown, the Court GRANTS Waymo’s Administrative Motion and ORDERS sealed the
 6 documents listed below:
 7                            Document                  Portions to Be Filed
                                                             Under Seal
 8                 Waymo’s Response                   Highlighted in blue
 9                 Exhibit 1 to Waymo’s Response      Entire document
                   Exhibit 2 to Waymo’s Response      Entire document
10                 Exhibit 3 to Waymo’s Response      Entire document
                   Exhibit 4 to Waymo’s Response      Entire document
11                 Exhibit 5 to Waymo’s Response      Highlighted in blue
                   Exhibit 6 to Waymo’s Response      Entire document
12
                   Exhibit 8 to Waymo’s Response      Entire document
13
14         IT IS SO ORDERED.

15 Dated: ______________, 2017
16                                        HON. JUDGE WILLIAM ALSUP
                                          United States District Judge
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                                    [PROPOSED] ORDER GRANTING WAYMO’S ADMINISTRATIVE MOTION TO SEAL
